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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF OKLAHOMA

EMMITT HOUSE,                   )
                                )                    CIVIL ACTION
                    Plaintiff,  )
                                )
              v.                )                    Case No. CIV-17-957-R
                                )
CREDIT ONE BANK and TINKER      )
FEDERAL CREDIT UNION            )
                                )
                    Defendants. )



NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE OF ALL CLAIMS
            AGAINST DEFENDANT CREDIT ONE BANK

      COMES NOW the Plaintiff, Emmit House, and pursuant to Federal Rules of Civil

Procedure 41(a)(2) hereby requests that Plaintiff’s action against Defendant Credit One

Bank be dismissed with prejudice pursuant to an agreed settlement among the parties.

                                              Respectfully submitted,

Dated: April 4, 2018                              By: s/ Tiffany Hill
                                                     Tiffany Hill, Esq. (OBA# 31332)
                                                     1415 NW 43rd St
                                                     Oklahoma City, OK 73118
                                                     Tel.: (405) 216-3126
                                                      Email: thlegalconsulting@gmail.com
      	       	      	       	     	     	  	  ATTORNEY FOR PLAINTIFF
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                             CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2018 I filed the attached document with the Clerk

of Court. Based on the records currently on file in this case, the Clerk of Court will transmit

a Notice of Electronic Filing to the registered participants of the Electronic Case Filing

System.



                                            Respectfully submitted,

Dated: April 4, 2018                        s/ Tiffany Hill
                                            Tiffany Hill, Esq. (OBA# 31332)
                                            1415 NW 43rd St
                                            Oklahoma City, OK 73118
                                            Tel.: (405) 216-3126
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                                            Attorney for Plaintiff
